Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
11/16/2018 12:11 AM CST




                                                             - 420 -
                                  Nebraska Supreme Court A dvance Sheets
                                          301 Nebraska R eports
                                                STATE v. WASHINGTON
                                                  Cite as 301 Neb. 420



                                        State of Nebraska, appellee, v.
                                        R ashad Washington, appellant.
                                                     ___ N.W.2d ___

                                   Filed October 26, 2018.     Nos. S-17-1002, S-17-1026.

                1.	 Judgments: Appeal and Error. The construction of a mandate issued
                    by an appellate court presents a question of law on which an appellate
                    court is obligated to reach a conclusion independent of the determination
                    reached by the court below.
                2.	 Courts: Appeal and Error. The order of an appellate court is con-
                    clusive on the parties, and no judgment or order different from, or in
                    addition to, that directed by the appellate court can be entered by the
                    trial court.

                  Appeals from the District Court for Douglas County: Peter
               C. Bataillon, Judge. Affirmed.
                    Brian S. Munnelly for appellant.
                  Douglas J. Peterson, Attorney General, and Austin N. Relph
               for appellee.
                 H eavican,             C.J.,    M iller-Lerman,           Stacy,     Funke,   and
               Papik, JJ.
                    Heavican, C.J.
                                     INTRODUCTION
                  Rashad Washington appeals from the district court’s denial
               of his motion to vacate and the subsequent reinstatement of
               sentences originally ordered on April 18, 2011. Washington
               appeals. We affirm.
                              - 421 -
           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
                      STATE v. WASHINGTON
                        Cite as 301 Neb. 420
                        BACKGROUND
   This case is procedurally complex. Following a jury trial,
Washington was convicted of nine counts for first degree
assault; second degree assault; possession of a firearm by a
prohibited person; discharging a firearm in certain cities, vil-
lages, and counties; three counts of use of a weapon to commit
a felony; possession of a firearm by a prohibited person; and
possession of a stolen firearm. These charges result from sepa-
rate incidents occurring on March 17 and 27, 2010.
   On April 18, 2011, the district court sentenced Washington
to a combined total of 70 to 110 years’ imprisonment. The
district court then informed Washington, incorrectly, that he
would be eligible for parole in 35 years, less the 387 days
already served, and released in 55 years, less the 387 days
already served. Two days later, on April 20, the district court
attempted to resentence Washington to reflect the court’s intent
that Washington would be eligible for parole in a certain num-
ber of years or be released in a certain number of years.
   Washington appealed, but on June 19, 2011, in case No.
A-11-402, his appeal was dismissed by the Nebraska Court of
Appeals for lack of jurisdiction, because a poverty affidavit
had not been filed.
   The State filed a petition to docket error proceedings,
which was granted. In its petition, the State argued that the
April 20, 2011, attempt to resentence Washington was of
no effect. The Court of Appeals agreed and on February 27,
2012, in case No. A-11-416, held that the April 18 sentence
remained in effect, but the court remanded the matter for a
new advisement on good time calculations. The district court
held a hearing to that effect on May 1, 2012, with a written
order following on May 3.
   By this time, Washington was represented by new counsel.
That counsel filed a notice of appeal on Washington’s behalf,
arguing insufficiency of the evidence, excessiveness of the
sentences imposed, and ineffectiveness of counsel at the April
                                     - 422 -
                Nebraska Supreme Court A dvance Sheets
                        301 Nebraska R eports
                            STATE v. WASHINGTON
                              Cite as 301 Neb. 420
18, 2011, sentencing hearing.1 The Court of Appeals declined
to reach the assigned errors, but found plain error in the
sentences imposed based upon this court’s decision in State
v. Castillas.2
   The Court of Appeals relied upon our statement in Castillas
that “‘[m]andatory minimum sentences cannot be served con-
currently. A defendant convicted of multiple counts each car-
rying a mandatory minimum sentence must serve the sentence
on each count consecutively,’” to conclude that the district
court’s imposition of concurrent sentences for the second
degree assault and discharging a firearm convictions were
error.3 Accordingly, the Court of Appeals remanded the mat-
ter for resentencing on those convictions, with recalculated
good time advisements. Washington was so resentenced on
September 30, 2013, with a written order filed on October 1.
   In January 2014, Washington filed various motions seeking
postconviction relief in the form of a new direct appeal and the
appointment of counsel for that appeal. Those motions were
granted, an evidentiary hearing was held, and a new direct
appeal granted.
   In an unpublished memorandum opinion dated December
29, 2016, in consolidated cases Nos. A-15-317 and A-15-323,
the Court of Appeals affirmed Washington’s convictions,
but based on this court’s clarification of Castillas,4 reversed
and vacated the sentences imposed by the district court on
September 30, 2013. The Court of Appeals further ordered
that the district court reinstate the sentences imposed on April
18, 2011.

 1	
      State v. Washington, No. A-12-470, 2013 WL 2326983 (Neb. App. May
      28, 2013) (selected for posting to court website).
 2	
      State v. Castillas, 285 Neb. 174, 826 N.W.2d 255 (2013), disapproved in
      part, State v. Lantz, 290 Neb. 757, 861 N.W.2d 728 (2015).
 3	
      State v. Washington, supra note 1, 2013 WL 2326983 at *3.
 4	
      See State v. Lantz, supra note 2.
                              - 423 -
           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
                      STATE v. WASHINGTON
                        Cite as 301 Neb. 420
   The Court of Appeals also found that all but two of
Washington’s ineffective assistance of counsel claims were
without merit, except for Washington’s claim that counsel
failed to preserve a constitutional challenge to Neb. Rev. Stat.
§ 28-1212.04 (Reissue 2016) and that counsel failed to fully
discuss and advise Washington concerning each count of the
information and amended information. As to those two claims,
the Court of Appeals found an insufficient record. Washington’s
motion for rehearing to the Court of Appeals and petition for
further review to this court were both denied.
   Upon remand, Washington filed a motion to vacate his
conviction for discharge of a firearm in certain cities, vil-
lages, and counties under § 28-1212.04, arguing the statute
is unconstitutional on its face. Washington requested that the
motion to vacate be taken up before the court reinstated the
sentences as directed by the mandate. The district court con-
cluded that it lacked jurisdiction to do anything other than
reinstate the sentences imposed on April 18. Accordingly,
the district court denied the motion to vacate and reinstated
the April 18 sentences. Washington appeals the denial of his
motion to vacate.
                 ASSIGNMENTS OF ERROR
   On appeal, Washington assigns that (1) § 28-1212.04
is facially unconstitutional, as violative of the prohibition
against local and special laws as stated in Neb. Const. art. III,
§ 18, and the Equal Protection Clause of the 14th Amendment
to the U.S. Constitution, and (2) the district court’s fail-
ure to consider the merits of the federal equal protection
challenge on the basis of state procedural grounds violated
the Supremacy Clause of article VI, clause 2, of the U.S.
Constitution.
                  STANDARD OF REVIEW
  [1] The construction of a mandate issued by an appellate
court presents a question of law on which an appellate court
                                    - 424 -
                Nebraska Supreme Court A dvance Sheets
                        301 Nebraska R eports
                            STATE v. WASHINGTON
                              Cite as 301 Neb. 420
is obligated to reach a conclusion independent of the deter­
mination reached by the court below.5
                           ANALYSIS
   The issue presented by this appeal is whether the district
court was obligated to consider the constitutional claim raised
by Washington in his motion to vacate, when that motion was
filed after remand from a decision of the Court of Appeals
which ordered the district court to resentence Washington in a
particular way. The district court declined to reach the motion,
concluding that the mandate from the Court of Appeals allowed
it only to resentence Washington. But Washington contends that
the federal constitutional challenge trumps the state procedural
rules under the Supremacy Clause of the U.S. Constitution,
requiring the district court to address his claim.
   We have reviewed the cases upon which Washington relies
and find them inapplicable here. Washington primarily relies
upon cases which involve the collateral review of a statute
already found to be unconstitutional and simply hold that
the sentence imposed for such a violation is void.6 But the
statute which Washington argues is unconstitutional has not
yet been found to be unconstitutional, and the cases he relies
upon do not opine on the underlying procedure that should be
followed in making such a determination. We are therefore
unpersuaded by Washington’s assertion that the lower court
was obligated under the Supremacy Clause to address his con-
stitutional claims.
   [2] This court has held that when a cause is remanded with
specific directions, the court to which the mandate is directed
has no power to do anything but to obey the mandate. The

 5	
      State v. Payne, 298 Neb. 373, 904 N.W.2d 275 (2017).
 6	
      See, Montgomery v. Louisiana, ___ U.S. ___, 136 S. Ct. 718, 193 L. Ed.
      2d 599 (2016); MacDonald v. Moose, 710 F.3d 154 (4th Cir. 2013); State
      v. Nollen, 296 Neb. 94, 892 N.W.2d 81 (2017); State v. Castaneda, 287
      Neb. 289, 842 N.W.2d 740 (2014).
                                      - 425 -
                Nebraska Supreme Court A dvance Sheets
                        301 Nebraska R eports
                             STATE v. WASHINGTON
                               Cite as 301 Neb. 420
order of an appellate court is conclusive on the parties, and no
judgment or order different from, or in addition to, that directed
by the appellate court can be entered by the trial court.7 Thus,
pursuant to the mandate of the Court of Appeals, the district
court had the power only to resentence Washington. There is
no merit to Washington’s assertions to the contrary.
                        CONCLUSION
  The district court did not err by not addressing Washington’s
constitutional challenge. We affirm.
                                                    A ffirmed.
  Cassel and Freudenberg, JJ., not participating.

 7	
      State v. Molina, 271 Neb. 488, 713 N.W.2d 412 (2006); State v. Gales, 269
      Neb. 443, 694 N.W.2d 124 (2005); State v. Hochstein and Anderson, 262
      Neb. 311, 632 N.W.2d 273 (2001).
